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                       IN THE UNITED STATES DISTRICT
                     COURT FOR THE NORTHERN DISTRICT
                        OF ILLINOIS EASTERN DIVISION


 IN RE: ETHIOPIAN AIRLINES FLIGHT ET 302
 CRASH                                             Civil No. 1:19-cv-02170

                                                   District Judge: Hon. Jorge L. Alonso
 This Document Relates To:
 YALENA LOPEZ-LEWIS, as Administrator of the       Magistrate Judge: Hon. M. David
 Estate of ANTOINE M. LEWIS Sr., deceased,         Weisman
 Case No.: 1:19-cv-4964




                            EXHIBIT 1
               (FILED UNDER SEAL)
